                  Case 2:10-cr-00361-LDG-RJJ                     Document 114                   Filed 03/11/11      Page 1 of 8
OAO 245B      (Rev. 12/03) Judgment in a Criminal Case
              Sheet 1



                                         UNITED STATES DISTRICT COURT
**AMENDED/CLERICAL ERROR**
                                                                  District of                                    Nevada
          UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                              V.
         OSCAR NOE SANCHEZ-LARIOS
                                                                           Case Number:                     2:10-CR-00361
                                                                           USM Number:                      45127-048

                                                                           RAQUEL LAZO, AFPD
                                                                           Defendant’s Attorney
THE DEFENDANT:
X pleaded guilty to count(s)         ONE OF CRIMINAL INDICTMENT

G pleaded nolo contendere to count(s)
   which was accepted by the court.

G was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                        Offense Ended               Count
21 USC § 841(a)(1) &
 (b)(1)(A)(viii),(b)(1)(B)
  (vii), and (b)(1)(B)(I)          Conspiracy to Distribute a Controlled Substance
                                       (Methamphetamine)                                                    June 30, 2010                     1


       The defendant is sentenced as provided in pages 2 through           7              of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

G The defendant has been found not guilty on count(s)
X Count(s)      remaining                                G is      X are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           FEBRUARY 23, 2011
                                                                           Date of Imposition of Judgment




                                                                           Signature of Judge




                                                                           LLOYD D. GEORGE, SR. U. S. DISTRICT JUDGE
                                                                           Name and Title of Judge



                                                                           Date
                     Case 2:10-cr-00361-LDG-RJJ                        Document 114            Filed 03/11/11        Page 2 of 8
AO 245B       (Rev. 12/03) Judgment in Criminal Case
              Sheet 2 — Imprisonment

                                                                                                            Judgment — Page   2       of   7
DEFENDANT:                       OSCAR NOE SANCHEZ-LARIOS
CASE NUMBER:                     2:10-CR-00361-LDG-RJJ



                                                                    IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:


                     97 MONTHS CUSTODY


    X     The court makes the following recommendations to the Bureau of Prisons:
          Court recommends placement in SOUTHERN CALIFORNIA




    X     The defendant is remanded to the custody of the United States Marshal.

    G     The defendant shall surrender to the United States Marshal for this district:

          G     at                                     G     a.m.     G p.m.         on                                           .

          G     as notified by the United States Marshal.

    G     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          G     before 2 p.m. on                                                .

          G     as notified by the United States Marshal.

          G     as notified by the Probation or Pretrial Services Office.



                                                                         RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                                to

a                                                          , with a certified copy of this judgment.




                                                                                                          UNITED STATES MARSHAL


                                                                                    By
                                                                                                       DEPUTY UNITED STATES MARSHAL
                     Case 2:10-cr-00361-LDG-RJJ                   Document 114            Filed 03/11/11           Page 3 of 8
AO 245B       (Rev. 12/03) Judgment in a Criminal Case
              Sheet 3 — Supervised Release
                                                                                                           Judgment—Page      3     of           7
DEFENDANT:                     OSCAR NOE SANCHEZ-LARIOS
CASE NUMBER:                   2:10-CR-00361-LDG-RJJ
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :            5 YEARS




     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

G        The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

X        The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

X        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
G        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
         student, as directed by the probation officer. (Check, if applicable.)

G        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant’s compliance with such notification requirement.
               Case 2:10-cr-00361-LDG-RJJ            Document 114       Filed 03/11/11        Page 4 of 8
AO 245B   (Rev. 12/03) Judgment in a Criminal Case
          Sheet 3C — Supervised Release
                                                                                       Judgment—Page   4    of     7
DEFENDANT:                OSCAR NOE SANCHEZ-LARIOS
CASE NUMBER:              2:10-CR-00361-LDG-RJJ

                                        SPECIAL CONDITIONS OF SUPERVISION

1. You shall not possess, have under your control, or have access to any firearm, explosive device, or other
dangerous weapons, as defined by federal, state, or local law.
2. You shall submit your person, property, residence, place of business and vehicle under your control to a search,
conducted by the United States probation officer or any authorized person under the immediate and personal
supervision of the probation officer, at a reasonable time and in a reasonable manner, based upon reasonable
suspicion of contraband or evidence of a violation of a condition of supervision; failure to submit to a search may
be grounds for revocation; the defendant shall inform any other residents that the premises may be subject to a
search pursuant to this condition.
3. If deported, you shall not reenter the United States without legal authorization.
4. You shall report, in person, to the probation office in the district to which you are released within 72 hours of
discharge from custody.
                  Case 2:10-cr-00361-LDG-RJJ                          Document 114               Filed 03/11/11     Page 5 of 8
AO 245B    (Rev. 12/03) Judgment in a Criminal Case
           Sheet 5 — Criminal Monetary Penalties
                                                                                                         Judgment — Page 5        of   7
DEFENDANT:                         OSCAR NOE SANCHEZ-LARIOS
CASE NUMBER:                       2:10-CR-00361-LDG-RJJ
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                                          Fine                                Restitution
TOTALS             $ REMITTED                                             $ N/A                             $ N/A


G    The determination of restitution is deferred until               . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

G    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                  Total Loss*                           Restitution Ordered                 Priority or Percentage




TOTALS                               $                                          $


G     Restitution amount ordered pursuant to plea agreement $

G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      G the interest requirement is waived for the               G fine     G     restitution.

      G the interest requirement for the              G   fine    G   restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
                  Case 2:10-cr-00361-LDG-RJJ                       Document 114          Filed 03/11/11          Page 6 of 8
AO 245B    (Rev. 12/03) Judgment in a Criminal Case
           Sheet 6 — Schedule of Payments

                                                                                                         Judgment — Page    6       of       7
DEFENDANT:                  OSCAR NOE SANCHEZ-LARIOS
CASE NUMBER:                2:10-CR-00361-LDG-RJJ

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A    G    Lump sum payment of $            N/A                 due immediately, balance due

          G      not later than                                    , or
          G      in accordance           G    C,      G   D,   G     E, or     G F below; or
B    G    Payment to begin immediately (may be combined with                 G C,     G D, or     G F below); or
C    G    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D    G    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G    Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    G    Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




G    The defendant shall pay the cost of prosecution.

G    The defendant shall pay the following court cost(s):

G
X    The defendant shall forfeit the defendant’s interest in the following property to the United States:

                        (SEE FINAL ORDER OF FORFEITURE)


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
                  Case 2:10-cr-00361-LDG-RJJ                   Document 114           Filed 03/11/11            Page 7 of 8
AO 245B    (Rev. 12/03) Judgment in a Criminal Case
           Sheet 7 — Denial of Federal Benefits

                                                                                                     Judgment — Page     7     of      7
DEFENDANT:                  OSCAR NOE SANCHEZ-LARIOS
CASE NUMBER:                2:10-CR-00361-LDG-RJJ
                                                  DENIAL OF FEDERAL BENEFITS
                                       (For Offenses Committed On or After November 18, 1988)

FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.C. § 862

     IT IS ORDERED that the defendant shall be:

X    ineligible for all federal benefits for a period of      5 YEARS                       .

G    ineligible for the following federal benefits for a period of                                          .
     (specify benefit(s))




                                                                        OR
G    Having determined that this is the defendant’s third or subsequent conviction for distribution of controlled substances, IT IS
     ORDERED that the defendant shall be permanently ineligible for all federal benefits.

FOR DRUG POSSESSORS PURSUANT TO 21 U.S.C. § 862(b)

     IT IS ORDERED that the defendant shall:

G    be ineligible for all federal benefits for a period of                                 .


G    be ineligible for the following federal benefits for a period of                                      .

     (specify benefit(s))




     G     successfully complete a drug testing and treatment program.

     G     perform community service, as specified in the probation and supervised release portion of this judgment.

     G     Having determined that this is the defendant’s second or subsequent conviction for possession of a controlled substance, IT
           IS FURTHER ORDERED that the defendant shall complete any drug treatment program and community service specified in this
           judgment as a requirement for the reinstatement of eligibility for federal benefits.




          Pursuant to 21 U.S.C. § 862(d), this denial of federal benefits does not include any retirement, welfare, Social Security, health,
disability, veterans benefit, public housing, or other similar benefit, or any other benefit for which payments or services are required
for eligibility. The clerk is responsible for sending a copy of this page and the first page of this judgment to:


                               U.S. Department of Justice, Office of Justice Programs, W ashington, DC 20531
     Case 2:10-cr-00361-LDG-RJJ            Document 114     Filed 03/11/11                Page 8 of 8

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                               UN ITED STA TES DISTRICT CO URT
                                          D IST R IC T O F N E V A D A
         UNITED STATES OF AMERICA,                      )
                                                        )
                             Plaintiff,                 )
                                                        )
                v.                                      )            2:10-CR-361-LDCi(RJJ)
                                                        )
         OSCAR NOE SANCHEZ-LARIOS,                      )
                                                        )
                             Defendant,                 )
                                FIN A L O R DER O F FO RFEITU R E A S TO
                             D EFEND AN T O SCA R N O E SA N CH EZ-LA R IO S

                On October8,2010 (Docket//74),thisCourtentered a Preliminary OrderofForfeiture
         pursuantto Fed.R.Crim.P.32.2(b)(1)and (2);Title 18,United StatesCode,Section 924(d)(1),
         (2)(C),and(3)(B)and Title28,UnitedStatesCode,Section2461(c);Title21,United StatesCode,
         Section 88l(a)(11)andTitle28,United StatesCode,Section2461(c);Title21,UnitedStatesCode, :
19 J Section853(a)(l)and(a)(2)forfeitingpropertyofdefendantOSCAR NOE SANCHEZ-LAIUOSto
20       the United StatesofA m erica;
21              IT IS H EREBY O RDERED ,A D JU D GED ,A N D D ECREED pursuantto Fed.R ,Crim ,P

22 32.2(b)(4)(A)and(B)thattheforfeitureofthepropertynamedinthePreliminaryOrderofForfeiture
23 is finalas to defendantO SCA R N OE SA N CHEZ-LA R IO S.
24              DATEDthis            dayof XV                        ,2011.  Mw       .

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